              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
               CRIMINAL CASE NO. 1:01-cr-00052-MR-6


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                    ORDER
                                )
ESTEBAN GARCIA, SR.,            )
                                )
                   Defendant.   )
_______________________________ )


     THIS MATTER is before the Court on the Defendant’s Motion for Credit

for Time Served [Doc. 542].

     The Defendant requests that he be given credit for time he served in

state custody prior to his conviction in the present case. [Doc. 542].

     The Attorney General, not the sentencing court, is responsible for

computing a prisoner’s credit. United States v. Wilson, 503 U.S. 329, 335

(1992). A prisoner seeking review of the computation of his sentence credit

must first seek administrative review of that computation through the Bureau

of Prisoners. Only after such administrative remedies have been exhausted

can a prisoner then seek judicial review of his sentence computation. Id.

Further, because “[a] claim for credit against a sentence attacks the



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computation and execution of a sentence rather than the sentence itself,”

United States v. Miller, 871 F.2d 488, 490 (4th Cir. 1989), such claims must

be raised pursuant to 28 U.S.C. § 2241 in the district of confinement. In re

Jones, 226 F.3d 328, 332 (4th Cir. 2000); 28 U.S.C. § 2241(a).

      Accordingly, the Defendant should address his inquiry regarding the

status of his sentence to the Bureau of Prisons. Once his BOP administrative

remedies have been exhausted, the Defendant may seek judicial review in

the district of his confinement.

      IT IS, THEREFORE, ORDERED that the Defendant’s Motion for Credit

for Time Served [Doc. 542] is DENIED WITHOUT PREJUDICE.

      IT IS SO ORDERED.
                                    Signed: November 2, 2015




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